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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                   v.                         :      Case No: 22-CR-15 (APM)
                                              :
JOSHUA JAMES,                                 :
         Defendant                            :




   DEFENDANT’S CONSENT MOTION TO MODIFY CONDITIONS OF PRETRIAL
                            RELEASE

       The Defendant, Joshua James, by undersigned counsel, respectfully moves this

Honorable Court to modify the conditions of his release. Government counsel consent to this

request. In support of this motion, Mr. James states as follows:

1. The Order setting Mr. James’ conditions of release prohibits him from accessing the internet,

    with a limited set of exceptions. The relevant condition states:

       The defendant may use an electronic device with Internet access for the sole purposes of:
       (1) attending court hearings; (2) communicating with his counsel and defense team; and
       (3) reviewing discovery materials with counsel and defense team. The defendant may not
       use electronic devices connected to the Internet for any other purposes.1


2. Mr. James owns and operates his own small business, providing power washing and gutter

    cleaning services to commercial and residential clients. His current bond conditions have

    substantially hindered his ability to correspond with clients and schedule appointments with

    clients. Because his access to email is restricted, he can not send written quotes to customers

    electronically, nor can he schedule jobs or correspond with customers electronically.



1 See Case 1:21cr00028, Dkt 165.
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3. Government counsel and counsel for Mr. James have conferred and consent to a

    Modification of the Release Order to permit him to access the internet for the purpose of any

    business-related communications with customers and potential customers of his business.

4. Further, due to the length of the drive from Defendant’s residence in Alabama to Washington,

    D.C., government counsel and counsel for Mr. James have conferred and consent to a

    Modification of the Release Order to allow Pretrial Services, in its discretion, to modify

    Defendant’s curfew2 without prior Court approval to accommodate travel for case-related

    meetings with his defense counsel and/or the Court.


                                                Respectfully submitted,

                                                       /s/
                                                Joan C. Robin
                                                Virginia Bar No. 44502
                                                Law Office of Joni C. Robin, PLaccommodateLC
                                                421 King Street, Suite 505
                                                Alexandria, Virginia 22314
                                                Ph: 703-349-1111
                                                Fax: 571-279-6851
                                                joni@jonirobinlaw.com

                                                ____________/s/_____________
                                                Christopher Leibig, Esq.
                                                Virginia Bar No. 40594
                                                Counsel for Defendant
                                                114 N. Alfred Street
                                                Alexandria, Virginia 22314
                                                (703) 683 4310
                                                chris@chrisleibiglaw.com




2 Mr. James’s curfew hours are 7 a.m. to 7 p.m. Monday through Friday, except the hours are extended to
8:30 p.m. two weeknights for purposes of attending therapeutic meetings. His curfew on Saturday and
Sunday is 7 a.m. to 8:30 p.m.
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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of September, 2022, I will electronically file the
foregoing Notice with the Clerk of Court using the CM/ECF system, which will then send a
notification of said filing (NEF) to counsel of record.

                                                              _______________/s/__________
                                                                   Joan Robin
